18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 1 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 2 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 3 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 4 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 5 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 6 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 7 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 8 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 9 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 10 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 11 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 12 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 13 of 14
18-13645-shl   Doc 1   Filed 11/21/18    Entered 11/21/18 21:12:18   Main Document
                                        Pg 14 of 14
